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                    Exhibit 2
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                  IN ENRON'S WAKE: CORPORATE
                                EXECUTIVES ON TRIAL

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              There may never have been a worse time to be a corporatecriminal.

                                  I wish we had never heardof Bernie Ebbers.

                                                     I. INTRODUCTION

        It was December, 2001-a few months after Enron CEO Ken Lay was
   warned of an "elaborate accounting hoax" 3 that had disguised fraud on a
   magnificent scale, and not long after Enron had publicly disclosed record
   fourth quarter shortfalls. Notwithstanding these dire financial straits, Enron
   executives behaved like pigs at the trough, doling out more than $100
   million in bonuses to themselves and delivering the checks by plane on the
   eve of the largest corporate bankruptcy filing in United States history. 4 It
   soon became evident that Enron's collapse was only the first in a wave of
   accounting fraud scandals that would inflict huge financial losses and erode
   public confidence in the nation's financial markets.
        Fast forward to December, 2005. Ken Lay and two other top Enron
   executives, former President and CEO Jeff Skilling and Chief Accounting


         James Carr Professor of Criminal Jurisprudence, Washington University School of
   Law. I am grateful to Jim Brickey for his inspiration and unflagging support, and to Darren
   Grady and Barry Wormser for their able research assistance.
       1 Shawn Young & Peter Grant, More Pinstripesto Get Prison Stripes, WALL ST. J., June
   20, 2005, at C 1.
      2 Suzanne Craig, Citigroup Quells Investor Claim over Research: PanelRejects Charge
    That Analyst Misled Client on WorldCom Stock; Victory Highlights Trend on Street, WALL
   ST. J., Dec. 8, 2005, at C1 (quoting Citigroup CEO Charles Prince).
      3 Anonymous Memorandum from Sherron Watkins, Vice President of Corporate
   Development, Enron, to Kenneth Lay, Chairman, Enron (Aug. 15, 2001) [hereinafter
   Anonymous Watkins Memorandum] (on file with author).
      4 Official Employment-Related Issues Comm. of Enron Corp. v. Arnold (In re Enron
   Corp.), No. 01-16034, at 20 (Bankr. S.D. Tex. Dec. 9, 2005) (Mem.) (on file with author).
   The bankruptcy court later determined that many of these transfers were fraudulent and
   ordered the money returned. Id at 98.
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     Officer Richard Causey, were then under indictment and only a month away
     from their criminal trial. 5 But here, the customary pretrial courtroom
     maneuvers were embellished by Lay's strategic effort to regain public
     relations momentum.
           Speaking before a group of 500 Houston business and academic
     leaders, Lay blamed Enron's downfall on a handful of bad apples 6 and-
     perhaps borrowing a leaf from Mark Twain's album7 -claimed that most of
     what had been said about Enron's demise was either "grossly exaggerated"
     or just plain wrong.8 Moreover, he charged, the Enron Task Force, which
     spearheads Enron-related investigations and prosecutions, had unleashed a
     "wave of terror" through the relentless pursuit of innocent businessmen, the
                                                                        9
     bullying of witnesses, and a host of other prosecutorial excesses.
           Following closely on the heels of Lay's highly charged speech, co-
     defendant Rick Causey rearranged the legal landscape for the trial by
     striking a deal with the prosecutors and agreeing to cooperate.' 0 Former

         5 The charges against Lay were far more limited than those against his co-defendants and
     former colleagues Jeff Skilling (former Enron President and CEO) and Rick Causey (former
     Enron Chief Accounting Officer). See Indictment, United States v. Causey, CRH-04-25
     (S.D. Tex. Jan. 21, 2004) (on file with author).
        6 But for "the illegal conduct of less than a handful of employees," he charged, Enron
     would not have needed to seek protection in bankruptcy. Kenneth L. Lay, Speech, "Guilty,
     Until Proven Innocent" (Dec. 13, 2005) [hereinafter Lay Speech] (on file with author).
        7 After the American press mistakenly published his obituary, Twain sent a cable from
     London declaring that "reports of my death are greatly exaggerated." THE NEW DICTIONARY
     OF CULTURAL LITERACY 137 (E.D. Hirsch, Jr. et al. eds., 2002).
         8 "Most of what was and is still being said ...is either grossly exaggerated, distorted, or
     just flat out false." Lay Speech, supra note 6.
         9 Id. In taking this stance, he joined a chorus of other Justice Department critics who had
     been caught up in the prosecutorial net. See, e.g., Jonathan D. Glater, Indictment Broadens
     in Shelters at KPMG, N.Y. TIMES, Oct. 18, 2005, at Cl (quoting defense lawyers
     representing two of seventeen defendants in the KPMG tax shelter prosecution, who charged
     that prosecutors are taking "a misguided, overly aggressive, unprecedented view of a
     complicated legal area" and are "seriously overreaching" in bringing the charges);
     HealthSouth: Scrushy Enters Not Guilty Plea to Charges He Bribed Governor, Cm. TRIB.,
     Oct. 29, 2005, at C2 (reporting that Richard Scrushy's lawyer claimed that Scrushy's
     indictment for political bribery was a product of overzealous prosecutors); Gretchen
     Ruethling, Four Additional Chargesfor Black in Hollinger Case, N.Y. TIMES, Dec. 16,
     2005, at C4 (quoting Conrad Black's lawyer, who characterized new charges against his
     client as "unfounded" and "a blatant example of overreaching by the prosecutor"); Press
     Release, Arthur Andersen, LLP, Statement by Arthur Andersen, LLP (Mar. 14, 2002)
     (asserting that prosecution of the accounting firm would be unjust and "an extraordinary
     abuse of prosecutorial discretion") [hereinafter Andersen Mar. 14 Press Release] (on file
     with author).
         10 John R. Emshwiller & John M. Biers, Enron ProsecutorsGain New Ally: Causey Plea
     May Offer Look into Top Officers' Actions Before Company 's Collapse, WALL ST. J., Dec.
     29, 2005, at A3.
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   Enron Treasurer Andy Fastow, who was widely credited with engineering
   much of the Enron fraud, had already pled guilty and been cooperating for
   more than a year."1 Causey's last minute defection, while not widely
   anticipated, was not without precedent. Surprise plea agreements reached
   on the eve of the Rite Aid 12
                                 trial, for example, left Rite Aid's Chief Legal
   Officer   holding the bag.
         It is axiomatic that most criminal cases are resolved through guilty
   pleas, and the recent corporate fraud prosecutions are no exception. And,
   like Fastow and Causey, most corporate executives who have pled guilty
   have also become cooperating witnesses, agreeing to help the government
   build criminal cases against their former colleagues and friends.
         I have written elsewhere about this building block technique and how
   it facilitates charging higher-ups like Skilling and Lay. 13 But this article
   turns to that rarer phenomenon of post-Enron prosecutions---cases that have
   actually gone to trial.
         We know relatively little about the corporate fraud trials because
   executives on trial have been relatively few and far between. It has taken
   roughly three years for these prosecutions to reach the trial stage and yield
   enough trial-related data to report and analyze.14 Thus, until now, our


       1 Lay publicly placed most of the blame for Enron's woes at Fastow's feet. Lay Speech,
   supra note 6. Since Fastow had been accused of reaping enormous profits from the fraud
   and Causey had not, the addition of Causey to the prosecution's team was a strategic
   government home run. In addition, there was some suggestion that the defense lawyers
   would try to smear Fastow in the jury's eyes by introducing evidence of pornography habits
   "so extensive that when his computer files were seized they were submitted to the FBI for
   criminal investigation." Carrie Johnson, Lawyers Take Aim at Enron Witnesses, WASH.
   POST, Jan. 10, 2006, at D3 (quoting unspecified court filings submitted by the defense).
       12 See infra Appendix 1, at Rite Aid; see also Ex-Chief Pleads Guilty in RiteAid Case,
   N.Y. TIMES, June 18, 2003, at CIO; 2 Defendants in Rite Aid Case Expected to Plead Guilty
   Today, N.Y. TIMES, June 26, 2003, at C6; FormerRite Aid Office Pleads Guilty, N.Y. TIMES,
   June 6, 2003, at C4; Mark Maremont, Rite Aid's Former Vice Chairman Doesn't Plead
   Guilty as Expected, WALL ST. J., June 27, 2003, at A8; Mark Maremont, Rite Aid's Ex-CEO
   Pleads Guilty: Grass Is FirstExecutive Held Criminally Liable in Major Accounting Fraud,
   WALL ST. J., June 18, 2003, at A3; cf Ex-Lawyerfor Rite Aid Is Found Guilty, N.Y. TIMES,
   Oct. 18, 2003, at C2; Rite Aid Ex-Counsel Is Convicted: Guilty Verdict Marks First by a Jury
   in Current Crop of CorporateScandals, WALL ST. J., Oct. 20, 2003, at C8.
       13Kathleen F. Brickey, Enron's Legacy, 8 BUFF. CRIM. L. REv. 221, 263-75 (2004)
   [hereinafter Brickey, Enron's Legacy]; Kathleen F. Brickey, From Enron To WorldCom and
   Beyond: Life and Crime After Sarbanes-Oxley, 81 WASH. U. L.Q. 357, 370-75 (2003)
   [hereinafter Brickey, Enron to WorldCom and Beyond].
       14In Brickey, Enron's Legacy, supra note 13, at 275, I examined the criminal
   enforcement environment and explored some of the principal characteristics of major
   corporate fraud prosecutions, including parallel civil and criminal enforcement activity,
   charging practices in criminal cases, and disposition of criminal charges. As few cases had
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      knowledge about these trials has been largely anecdotal. But after a brief
      hiatus following Arthur Andersen's obstruction of justice conviction in
      2002,15 high profile executives began to find themselves in the dock-
      beginning with Adelphia CEO John Rigas (guilty), WorldCom CEO Bernie
      Ebbers (guilty), HealthSouth CEO Richard Scrushy (not guilty), 16 and
      Enron CEOs Jeff Skilling and Ken Lay (currently on trial).
            Now that we are deeply enough into the prosecution cycle that major
      cases have been tried, jury verdicts returned, and sentences imposed, this
      seems an opportune time to take a closer look at these prosecutions through
      the prism of newly compiled data on the trials. Although the number of
      cases is relatively small, the data set provides the most comprehensive
      picture of executives on trial available to date.
            Part II of this article addresses a range of questions about corporate
      fraud trials and verdicts. Which and how many cases have gone to trial,
      who has been tried, and what is a typical outcome? Does the government
      enjoy a high degree of success at trial, or are high-profile executives more
      likely to win juries over to their side? Part II addresses these and other core
      trial-related questions.
            Part III then turns to the flip side of the coin-cases that have ended in
      mistrials-and considers whether mistrials have been major government
      setbacks. How often have mistrials been declared? What factors come into
      play when a trial ends without a verdict? Were cases that ended in mistrials
      flawed from the outset? Are prosecutors' decisions about whether to retry a
      defendant a reliable gauge of the relative strength of the case? Are
      decisions to retry accompanied by discernable shifts in trial strategy? Part
      III provides a framework for taking a preliminary look at this intriguing set
      of issues.


      yet gone to trial at that time, the dispositions consisted primarily of guilty pleas, with a
      smattering of verdicts, mistrials, and dismissals.
          15 After a month-long trial, Andersen was convicted on the single count indictment

      charging the firm with violating 18 U.S.C. § 1512(b)(2) (2000). United States v. Arthur
      Andersen, LLP, 374 F.3d 281, 284 (6th Cir. 2004), rev'd 125 S. Ct. 2129 (2005); see
      Kathleen F. Brickey, Andersen's Fall from Grace, 81 WASH U. L.Q. 917 (2003). The
      Supreme Court later reversed, holding that the trial court's instructions did not correctly
      inform the jury of the mens rea required to prove a violation of 18 U.S.C. § 1512(b). Arthur
      Andersen, LLP v. United States, 125 S. Ct. 2129, 2136-37 (2005).           The government
      ultimately decided not to retry the now-defunct firm and did not object to a motion made by
      David Duncan, the government's star cooperating witness in the Andersen case, to withdraw
      his guilty plea. John R. Emshwiller, Andersen Figure Files to Withdraw His Guilty Plea,
      WALL ST. J., Nov. 23, 2005, at C3.
         16 Scrushy has since been indicted on unrelated federal political bribery charges and is

      now awaiting trial. Milt Freudenheim, Scrushy Faces New Charges of Bribing State
      Officials, N.Y. TIMES, Oct. 27, 2005, at C18.
